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6
                               UNITED STATES DISTRICT COURT
7                        WESTERN DISTRICT OF WASHINGTON AT TACOMA
8
     GISELLE MCKENZIE,                                  NO.
9

10
                                  Plaintiff,            NOTICE OF REMOVAL OF CIVIL
                                                        ACTION
11               v.
                                                        (28 U.S.C.§§ 1332 AND 1441)
12   DOLLAR TREE STORES, INC., a Virginia               (DIVERSITY JURISDICTION)
     corporation, AMERICAN CONSUMER
13
     PRODUCTS CORP, a California corporation,           DEMAND FOR JURY TRIAL
14
     KITTRICH CORPORATION, a California
     corporation,
15
                                  Defendants.
16

17

18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE UNITED
     STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT TACOMA:
19

20          PLEASE TAKE NOTICE THAT Defendant DOLLAR TREE STORES, INC.

21   (“Dollar Tree”) respectfully removes this action from the Superior Court of the State of

22   Washington in and for Pierce County, where it is currently pending, to the United States

23   District Court for the Western District of Washington. This Notice is submitted pursuant to 28

24   U.S.C. §§ 1332, 1441, and 1446. As grounds for removal, Dollar Tree states as follows:

25                                NOTICE OF REMOVAL IS TIMELY

26          1.        On or about May 23, 2021, Giselle McKenzie filed a complaint against Dollar

27   Tree, American Consumer Products Corp, and Kittrich Corporation in the Superior Court of

                                                                           DAVIS ROTHWELL
                                                                      E A R L E & XO C H I H U A P . C .
     NOTICE OF REMOVAL OF CIVIL ACTION - 1                              701 5T H AV E, S U IT E 5500
                                                                           SEATTLE, WA 98104
                                                                                (206) 622-2295
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1    the State of Washington in and for Pierce County, entitled McKenzie v. Dollar Tree Stores,
2    Inc., et al, Case No. 21-2-05979-3. A copy of the summons and complaint is attached as
3    Exhibit A to this Notice. In the complaint, Plaintiff seeks to recover “her full damages in an
4    amount to be proven at trial,” claimed to be due as compensation for personal injury caused
5    by an allegedly defective product. Plaintiff also requests attorney fees and cost and interest.
6           2.    On or about June 9, 2021, Plaintiff served the summons and complaint on Dollar
7    Tree, via personal service in Dollar Tree’s home state of Virginia. Dollar Tree answered the
8    Complaint on June 28, 2021. On or about June 23, 2021, Dollar Tree served upon Plaintiff a
9    request for statement of damages, pursuant to RCW 4.28.360, seeking to understand the
10   amounts in controversy in this action. On or about July 16, 2021, Dollar Tree received
11   Plaintiff’s statement of damages. Per the statement, Plaintiff is seeking an estimated total of
12   at least $109,600.
13          Pursuant to 28 U.S.C. § 1446(a), Exhibit A consists of all process, pleadings, and
14   orders that Dollar Tree received in this action as of the date of this Notice.
15          3.    Pursuant to 28 U.S.C. § 1446(b), and related law, Dollar Tree filed this Notice of
16   Removal within thirty (30) days of Plaintiff’s service of a pleading paper from which Dollar
17   Tree could determine that the case was removable. See Durham v. Lockheed Martin Corp.,
18   445 F.3d 1247, 1250 (9th Cir. 2006).
19        JURISDICTIONAL BASIS FOR REMOVAL – DIVERSITY JURISDICTION
20          4.    Dollar Tree seeks to remove this case to federal court on the basis of diversity of
21   citizenship between the parties pursuant to 28 U.S.C. § 1332.
22          5.    For purposes of diversity jurisdiction, a corporation is “deemed to be a citizen of
23   every State and foreign state by which it has been incorporated and of the State or foreign
24   state where it has its principal place of business ….” 28 U.S.C. § 1332(c)(1)
25          6.    Plaintiff Giselle McKenzie is a Washington resident.
26          7.    Defendant Dollar Tree is a Virginia corporation with its principal place of
27   business in Virginia. On information and belief, Defendant American Consumer Products

                                                                               DAVIS ROTHWELL
                                                                          E A R L E & XO C H I H U A P . C .
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1    Corp is a California corporation with its principal place of business in California.                    On
2    information and belief, Defendant Kittrich Corporation is a California corporation with its
3    principal place of business in California.
4           8.    As none of the defendants are a citizen of Washington, there is complete
5    diversity between Plaintiff and Defendants.
6            THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED
7           9.    The amount in controversy exceeds $75,000. Per Plaintiff’s statement of
8    damages, she is seeking an award of at least $109,600.
9           10.   Because Plaintiff is diverse from Defendants and the amount in controversy,
10   exclusive of interest and costs, exceeds the sum of $75,000, this Court has original
11   jurisdiction over the claims pursuant to 28 U.S.C. § 1332.
12          11.   Defendants are entitled to have this cause removed from the Superior Court of
13   the State of Washington in and for Pierce County to the United States District Court for the
14   Western District of Washington, the federal district where the state suit is pending.
15                              PAPERS FROM REMOVED ACTION
16          12.   Copies of all pleadings in the action pending in Superior Court of the State of
17   Washington for in and for Pierce County are attached hereto as Exhibit A.
18                                     NOTICE TO PLAINTIFF
19          13.   Dollar Tree has served written notice of this filing on counsel for all parties to
20   this action as required by 28 U.S.C. § 1446(d).
21       NOTICE TO STATE COURT WHERE REMOVED ACTION WAS PENDING
22          14.   After the filing of this Notice of Removal, Dollar Tree will file a copy of this
23   Notice of Removal with the Clerk of the Superior Court of the State of Washington in and for
24   Pierce County where the above-captioned action is currently pending, as required by 28
25   U.S.C. § 1446(d).
26                                  NON-WAIVER OF DEFENSES
27


                                                                             DAVIS ROTHWELL
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1           15.   By removing this action from the Superior Court of the State of Washington in
2    and for Pierce County, Dollar Tree does not waive any defenses available to it or admit any of
3    the allegations in Plaintiff’s complaint. Further, Dollar Tree reserves the right to amend or
4    supplement this Notice of Removal.
5    \\
6    \
7           WHEREFORE, Defendant Dollar Tree respectfully removes the above-captioned
8    action from the Superior Court of the State of Washington in and for Pierce County to the
9    United States District Court for the Western District of Washington.
10
            DATED this 22nd day of July 2021.
11

12
                                                 DAVIS ROTHWELL
                                                 EARLE & XÓCHIHUA, PC
13
                                                 By /s Keith M. Liguori
14                                                  Keith M. Liguori, WSBA No. 51501
                                                    Matthew K.T. Ishihara, WSBA No. 54333
15
                                                    Attorneys for Dollar Tree
16                                                  701 5th Ave Suite 5500
                                                    Seattle, WA 98104
17                                                  E: kliguori@davisrothwell.com
                                                    E: mishihara@davisrothwell.com
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                                                                           DAVIS ROTHWELL
                                                                      E A R L E & XO C H I H U A P . C .
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1                                   CERTIFICATE OF SERVICE
2           The undersigned declares under penalty of perjury under the laws of the State of
3    Washington that on this date she sent, via electronic mail and/or U.S Mail, a copy of the
4    foregoing document for delivery to the following persons:
5
     Counsel for Plaintiff                          Defendant Kittrich Corporation
6    James Whitehead III, WSBA No. 6319             Matthew R. Wojcik, WSBA #27918
     LAW OFFICE OF JAMES F WHITEHEAD,               Jean Y. Kang , WSBA#42074
7    PLLC                                           BULLIVANT HOUSER BAILEY PC
     PO BOX 84567                                   925 4th Avenue, Suite 3800
8
     Seattle, WA 98124                              Seattle, WA 98104
9
     jim@jfw-law.com                                 Matt.wojcik@bullivant.com
                                                     Jean.kang@bullivant.com
10

11
            SIGNED at Seattle, Washington, on this 22nd day of July 2021
                                              /s/ Tiarra Powells
12                                            Tiarra Powells Legal Assistant
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                                                                       DAVIS ROTHWELL
                                                                  E A R L E & XO C H I H U A P . C .
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